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                                      IN THE UNITED STATES BANKRUPTCY COURT
                                           FOR THE DISTRICT OF MARYLAND
                                                   Greenbelt Division

 In re                                               Case No. 24-13609-MCR

 Smokecraft Clarendon, LLC                           Chapter 11

       Debtor.
 ____________________________________/

                                                      TALLY OF BALLOTS
         Comes now Smokecraft Clarendon, LLC (“Smokecraft” or the “Debtor”), by and through undersigned counsel, and reports as

follows:



 Creditor     Member    Total $      #      %     $ Value of           % of      #         %          $ Value of % of Value   Indicate
 Class        s of      Value of     Accept Accep Accept-              Value     Reject-   Reject-    Rejecting Rejecting     if claim
 (#,          Class     Claims       -ing   t-ing ances                accept-   ing       ing                                is unim-
 Descrip)     Casting   Voting                                         ing                                                    paired
              Ballots

      3           1     $2,115.39       1      100     $1,115.39        100%        0         0%      $0.00         0%          No.
  (priority
   claims)




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                                           Respectfully submitted,

                                            /s/ Maurice B. VerStandig
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                                            Counsel for the Debtor

                                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 4th day of June, 2025, a copy of the foregoing was served electronically upon filing via the

ECF system on all counsel who have entered an appearance herein, including:

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